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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

H-D U.S.A., LLC,
                                                   Case No. 19-cv-03547
              Plaintiff,
                                                   Judge Gary Feinerman
v.
                                                   Magistrate Judge Jeffrey Cole
46GPFORTYSIX STORE, et al.,
              Defendants.


    MEMORANDUM IN SUPPORT OF PLAINTIFF’S EX PARTE MOTION FOR
 ENTRY OF A TEMPORARY RESTRAINING ORDER, INCLUDING A TEMPORARY
INJUNCTION, A TEMPORARY ASSET RESTRAINT, AND EXPEDITED DISCOVERY

        Plaintiff H-D U.S.A., LLC (“Plaintiff” or “Harley-Davidson”) submits this Memorandum

in support of its Ex Parte Motion for Entry of a Temporary Restraining Order (“TRO”),

including a temporary injunction, a temporary asset restraint, and expedited discovery (the “Ex

Parte Motion”).




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                                    MEMORANDUM OF LAW

I.      INTRODUCTION AND SUMMARY OF ARGUMENT

        Plaintiff Harley-Davidson is requesting temporary ex parte relief based on an action for

trademark infringement and counterfeiting, false designation of origin, and violation of the

Illinois Uniform Deceptive Trade Practices Act (the “UDTPA”) against the defendants identified

on Schedule “A” to the Amended Complaint (collectively, the “Defendants”). As alleged in

Harley-Davidson’s Amended Complaint, Defendants are offering for sale and/or selling

unauthorized and unlicensed counterfeit products using counterfeit versions of Harley-

Davidson’s federally registered trademarks (collectively, the “Counterfeit Harley-Davidson

Products”), through the fully interactive, commercial Internet stores operating under at least the

Online Marketplace Accounts identified in Schedule A to the Amended Complaint (collectively,

the “Defendant Internet Stores”).

        Defendants run a sophisticated counterfeiting operation, and are reaching out to do

business with Illinois residents by operating one or more commercial, interactive Defendant

Internet Stores through which Illinois residents can purchase Counterfeit Harley-Davidson

Products. The Defendant Internet Stores share unique identifiers, such as design elements and

similarities of the Counterfeit Harley-Davidson Products offered for sale establishing a logical

relationship between them. Further, Defendants attempt to avoid liability by going to great

lengths to conceal both their identities and the full scope and interworking of their counterfeiting

operation. Harley-Davidson is forced to file this action to combat Defendants’ counterfeiting of

its registered trademarks, as well as to protect unknowing consumers from purchasing

Counterfeit Harley-Davidson Products over the Internet.           Defendants’ ongoing unlawful

activities should be restrained, and Harley-Davidson respectfully requests that this Court issue ex

parte a Temporary Restraining Order.

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II.      STATEMENT OF FACTS

         A.    Harley-Davidson’s Trademarks and Products

         Harley-Davidson is a world-famous manufacturer of motorcycles and a wide variety of

other products and services, including apparel, jewelry, leather goods, and assorted accessories

(collectively referred to herein as “Harley-Davidson Products”). See Declaration of Adraea M.

Brown (the “Brown Declaration”) at ¶ 3. Since at least as early as 1903, Harley-Davidson has

used and promoted the HARLEY-DAVIDSON name and trademark in connection with

motorcycles, motorcycle parts and accessories. Id. at ¶ 4. Harley-Davidson has continuously

sold motorcycles and related goods under the HARLEY-DAVIDSON and other trademarks

(collectively, the “HARLEY-DAVIDSON Trademarks”). Id. at ¶ 8.

         The U.S. registrations for the HARLEY-DAVIDSON Trademarks are valid, subsisting,

in full force and effect, and many are incontestable pursuant to 15 U.S.C. § 1065. Id. at 10. The

registrations for the HARLEY-DAVIDSON Trademarks constitute prima facie evidence of their

validity and of Harley-Davidson’s exclusive right to use the HARLEY-DAVIDSON Trademarks

pursuant to 15 U.S.C. § 1057(b). The HARLEY-DAVIDSON Trademarks have been used

exclusively and continuously by Harley-Davidson and have never been abandoned. Id.

         Genuine Harley-Davidson Products are sold only through authorized retail channels and

are recognized by the public as being exclusively associated with the Harley-Davidson brand.

Id. at ¶ 14. Harley-Davidson has numerous licensees in the United States that are authorized to

sell a wide range of Harley-Davidson Products. These licensees have offered a wide variety of

products under the Harley-Davidson Trademarks for decades. Id. at ¶ 15. In 2015, Interbrand

estimated the value of the HARLEY-DAVIDSON brand at US $5.46 billion. The goodwill

associated with the HARLEY-DAVIDSON brand and the HARLEY-DAVIDSON Trademarks is

of incalculable and inestimable value to Harley-Davidson. Id. at ¶ 21.

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          B.     Defendants’ Unlawful Activities

          The success of the Harley-Davidson brand has resulted in its significant counterfeiting.

Id. at ¶ 22. Consequently, Harley-Davidson has a worldwide anti-counterfeiting program and

regularly investigates suspicious online marketplace listings identified in proactive Internet

sweeps and reported by consumers. Id. In recent years, Harley-Davidson has identified many

online marketplace listings on platforms such as iOffer, eBay, AliExpress, Alibaba, Amazon,

Wish.com, and Dhgate, including the Defendant Internet Stores, which were offering for sale,

selling, and importing Counterfeit Harley-Davidson Products to consumers in this Judicial

District and throughout the United States. Id. Despite Harley-Davidson’s enforcement efforts,

Defendants have persisted in creating the Defendant Internet Stores. Id. Harley-Davidson’s

well-pleaded allegations regarding registration patterns, similarities among the Defendant

Internet Stores and the Counterfeit Harley-Davidson Products for sale thereon, and common

tactics employed to evade enforcement efforts establish a logical relationship among the

Defendants suggesting that Defendants are interrelated. In the event that Defendants provide

additional credible information regarding their identities, Harley-Davidson will take appropriate

steps to amend the Amended Complaint.

III.      ARGUMENT

          Defendants’ purposeful, intentional, and unlawful conduct is causing and will continue to

cause irreparable harm to Harley-Davidson’s reputation and the goodwill symbolized by the

HARLEY-DAVIDSON Trademarks.               Rule 65(b) of the Federal Rules of Civil Procedure

provides that the Court may issue an ex parte TRO where immediate and irreparable injury, loss,

or damage will result to the applicant before the adverse party or that party's attorney can be

heard in opposition. Fed. R. Civ. P. 65 (b). The entry of a TRO is appropriate because it would



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immediately stop the Defendants from benefiting from their wrongful use of the HARLEY-

DAVIDSON Trademarks and preserve the status quo until a hearing can be held.

       In the absence of a TRO without notice, the Defendants can and likely will register new

online marketplace accounts under new aliases and move any assets to offshore bank accounts

outside the jurisdiction of this Court.     See Declaration of Justin R. Gaudio (the “Gaudio

Declaration”) at ¶¶ 5-7. Courts have recognized that civil actions against counterfeiters present

special challenges that justify proceeding on an ex parte basis. See Columbia Pictures Indus.,

Inc. v. Jasso, 927 F. Supp. 1075, 1077 (N.D. Ill. 1996) (observing that “proceedings against

those who deliberately traffic in infringing merchandise are often useless if notice is given to the

infringers”). As such, Harley-Davidson respectfully requests that this Court issue the requested

ex parte TRO.

       This Court has original subject matter jurisdiction over the claims in this action pursuant

to the provisions of the Lanham Act, 15 U.S.C. § 1051, et seq., 28 U.S.C. §§ 1338(a)-(b), and 28

U.S.C. § 1331. This Court has jurisdiction over the claims in this action that arise under the laws

of the State of Illinois pursuant to 28 U.S.C. § 1367(a), because the state law claims are so

related to the federal claims that they form part of the same case or controversy and derive from

a common nucleus of operative facts. Venue is proper pursuant to 28 U.S.C. § 1391.

       This Court may properly exercise personal jurisdiction over Defendants since Defendants

directly target business activities toward consumers in the United States, including Illinois,

through at least the fully interactive, commercial Defendant Internet Stores.          Specifically,

Defendants are reaching out to do business with Illinois residents by operating one or more

commercial, interactive Defendant Internet Stores through which Illinois residents can purchase

products using counterfeit versions of the HARLEY-DAVIDSON Trademarks. See Amended



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Complaint at ¶¶ 2, 24, 33 and 34. See, e.g., Christian Dior Couture, S.A. v. Lei Liu et al., 2015

U.S. Dist. LEXIS 158225, at *6 (N.D. Ill. Nov. 17, 2015) (personal jurisdiction proper over

defendant offering to sell alleged infringing product to United States residents, including Illinois;

no actual sale required).

       Each of the Defendants is committing tortious acts in Illinois, is engaging in interstate

commerce, and has wrongfully caused Harley-Davidson substantial injury in the State of Illinois.

       A.      Standard for Temporary Restraining Order and Preliminary Injunction

       District Courts within this Circuit hold that the standard for granting a TRO and the

standard for granting a preliminary injunction are identical. See, e.g. Charter Nat’l Bank & Trust

v. Charter One Fin., Inc., No. 1:01-cv-00905, 2001 WL 527404, at *1 (N.D. Ill. May 15, 2001)

(citation omitted). A party seeking to obtain a preliminary injunction must demonstrate: (1) that

its case has some likelihood of success on the merits; (2) that no adequate remedy at law exists;

and (3) that it will suffer irreparable harm if the injunction is not granted. See Ty, Inc. v. The

Jones Group, Inc., 237 F.3d 891, 895 (7th Cir. 2001).

       If the Court is satisfied that these three conditions have been met, then it must consider

the harm that the nonmoving party will suffer if preliminary relief is granted, balancing such

harm against the irreparable harm the moving party will suffer if relief is denied. Id. Finally, the

Court must consider the potential effect on the public interest (non-parties) in denying or

granting the injunction. Id. The Court then weighs all of these factors, “sitting as would a

chancellor in equity,” when it decides whether to grant the injunction. Id. (quoting Abbott Labs.

v. Mead Johnson & Co., 971 F.2d 6, 11 (7th Cir. 1992)). This process involves engaging in what

the Court has deemed “the sliding scale approach” – the more likely the plaintiff will succeed on

the merits, the less the balance of harms need favor the plaintiff's position. Id.



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       B.     Harley-Davidson Will Likely Succeed on the Merits

       A defendant is liable for trademark infringement and counterfeiting under the Lanham

Act if it, “without the consent of the registrant, use[s] in commerce any reproduction, copy, or

colorable imitation of a registered mark in connection with the sale, offering for sale,

distribution, or advertising of any goods … which such use is likely to cause confusion, or to

cause mistake, or to deceive.” 15 U.S.C. § 1114(1). Harley-Davidson’s Lanham Act and

UDTPA claims involve the same elements. See Packaging Supplies, Inc. v. Harley-Davidson,

Inc., No. 08- c v - 400, 2011 WL 1811446, at *5 (N.D. Ill. May 12, 2011). A Lanham Act

trademark infringement claim has two elements. See 15 U.S.C. § 1125(a). First, plaintiff must

show “that its mark is protected under the Lanham Act.” Barbecue Marx, Inc. v. 551

Ogden, Inc., 235 F.3d 1041, 1043 (7th Cir. 2000).       Second, a plaintiff must show that the

challenged mark is likely to cause confusion among consumers. Id.

       In this case, the HARLEY-DAVIDSON Trademarks are inherently distinctive and are

registered with the United States Patent and Trademark Office. The HARLEY-DAVIDSON

Trademarks have been used exclusively and continuously by Harley-Davidson since 1903.

Brown Declaration at ¶¶ 8, 13. The registrations for the HARLEY-DAVIDSON Trademarks are

valid, subsisting, in full force and effect, and many are incontestable pursuant to 15 U.S.C. §

1065. Id. The registrations constitute prima facie evidence of their validity and of Harley-

Davidson’s exclusive right to use the HARLEY-DAVIDSON Trademarks pursuant to 15 U.S.C.

§ 1057(b). Furthermore, Harley-Davidson has not licensed or authorized Defendants to use any

of the HARLEY-DAVIDSON Trademarks, and none of the Defendants are authorized retailers

of genuine Harley-Davidson Products. Id. at ¶ 17. Thus, Harley-Davidson satisfies the first

element of its Lanham Act claim.



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       The Seventh Circuit has held that where “one produces counterfeit goods in an apparent

attempt to capitalize upon the popularity of, and demand for, another’s product, there is a

presumption of a likelihood of confusion.” Microsoft Corp. v. Rechanik, 249 F. App’x 476, 479

(7th Cir. 2007). Accordingly, the Court can presume a likelihood of confusion from Defendants’

use of the HARLEY-DAVIDSON Trademarks. The result is the same when considered in light

of the Seventh Circuit’s seven enumerated factors to determine whether there is a likelihood of

confusion, which include: (1) similarity between the marks in appearance and suggestion; (2)

similarity of the products/services; (3) area and manner of concurrent use; (4) degree of care

likely to be exercised by consumers; (5) strength of complainant's mark; (6) actual confusion;

and (7) intent of the defendants to palm off their products as that of another. AutoZone, Inc. v.

Strick, 543 F.3d 923, 929 (7th Cir. 2008). No one factor is dispositive, but the similarity of the

marks, actual confusion, and the defendant’s intent are “particularly important.” Id.

       Harley-Davidson has submitted extensive documentation showing that Defendants are

selling Counterfeit Harley-Davidson Products that look similar to genuine Harley-Davidson

Products and use counterfeit marks identical to the HARLEY-DAVIDSON Trademarks. Both

Harley-Davidson and Defendants advertise and sell their products to consumers via the Internet,

targeting consumers looking for genuine Harley-Davidson Products. Brown Declaration at ¶¶

18, 27. Those consumers are diverse with varying degrees of sophistication, and they are likely

to have difficulty distinguishing genuine Harley-Davidson Products from Counterfeit Harley-

Davidson Products.     Indeed, it appears that Defendants are intentionally trying to induce

consumers looking for genuine Harley-Davidson Products to purchase Counterfeit Harley-

Davidson Products instead. In that regard, Defendants advertise Counterfeit Harley-Davidson

Products using the HARLEY-DAVIDSON Trademarks.                 Brown Declaration at ¶ 23, 24.



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Evidence of actual consumer confusion is not required to prove that a likelihood of confusion

exists, particularly given the compelling evidence that Defendants are attempting to “palm off”

their goods as genuine Harley-Davidson products. CAE, Inc. v. Clean Air Eng’g, Inc., 267 F.3d

660, 685 (7th Cir. 2001). Accordingly, Harley-Davidson is likely to establish a prima facie case

of trademark infringement and counterfeiting, false designation of origin, and violation of the

UDTPA.

       C.      There Is No Adequate Remedy at Law, and Harley-Davidson Will Suffer
               Irreparable Harm in the Absence of Preliminary Relief

       The Seventh Circuit has “clearly and repeatedly held that damage to a trademark holder's

goodwill can constitute irreparable injury for which the trademark owner has no adequate legal

remedy.” Re/Max N. Cent., Inc. v. Cook, 272 F.3d 424, 432 (7th Cir. 2001) (citing Eli Lilly &

Co. v. Natural Answers, Inc., 233 F.3d 456, 469 (7th Cir. 2000)). Irreparable injury “almost

inevitably follows” when there is a high probability of confusion because such injury “may not

be fully compensable in damages.” Helene Curtis Industries, Inc. v. Church & Dwight Co., Inc.,

560 F.2d 1325, 1332 (7th Cir. 1977) (citation omitted). “The most corrosive and irreparable

harm attributable to trademark infringement is the inability of the victim to control the nature and

quality of the defendants’ goods.” Int’l Kennel Club of Chicago, Inc. v. Mighty Star, Inc., 846

F.2d 1079, 1092 (7th Cir. 1988). As such, monetary damages are likely to be inadequate

compensation for such harm. Ideal Indus., Inc. v. Gardner Bender, Inc., 612 F.2d 1018, 1026

(7th Cir. 1979).

       Defendants’ unauthorized use of the HARLEY-DAVIDSON Trademarks has and

continues to irreparably harm Harley-Davidson through diminished goodwill and brand

confidence, damage to Harley-Davidson’s reputation, loss of exclusivity, and loss of future sales.

Brown Declaration at ¶¶ 30-34. The extent of the harm to Harley-Davidson’s reputation and


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goodwill and the possible diversion of customers due to loss in brand confidence are both

irreparable and incalculable, thus warranting an immediate halt to Defendants’ infringing

activities through injunctive relief. See Promatek Industries, Ltd. v. Equitrac Corp., 300 F.3d

808, 813 (7th Cir. 2002) (finding that damage to plaintiff’s goodwill was irreparable harm for

which plaintiff had no adequate remedy at law). Harley-Davidson will suffer immediate and

irreparable injury, loss, or damage if an ex parte Temporary Restraining Order is not issued in

accordance with Federal Rule of Civil Procedure 65(b)(1). Brown Declaration at ¶ 35.

       D.    The Balancing of Harms Tips in Harley-Davidson’s Favor, and the Public
              Interest Is Served by Entry of the Injunction

       As noted above, if the Court is satisfied that Harley-Davidson has demonstrated (1) a

likelihood of success on the merits, (2) no adequate remedy at law, and (3) the threat of

irreparable harm if preliminary relief is not granted, then it must next consider the harm that

Defendants will suffer if preliminary relief is granted, balancing such harm against the

irreparable harm Harley-Davidson will suffer if relief is denied. Ty, Inc., 237 F.3d at 895. As

willful infringers, Defendants are entitled to little equitable consideration. “When considering

the balance of hardships between the parties in infringement cases, courts generally favor the

trademark owner.” Krause Int’l Inc. v. Reed Elsevier, Inc., 866 F. Supp. 585, 587-88 (D.D.C.

1994). This is because “[o]ne who adopts the mark of another for similar goods acts at his own

peril since he has no claim to the profits or advantages thereby derived.” Burger King Corp. v.

Majeed, 805 F. Supp. 994, 1006 (S.D. Fla. 1992) (internal quotation marks omitted). Therefore,

the balance of harms “cannot favor a defendant whose injury results from the knowing

infringement of the plaintiff's trademark.” Malarkey-Taylor Assocs., Inc. v. Cellular Telecomms.

Indus. Ass’n., 929 F. Supp. 473, 478 (D.D.C. 1996).




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       As Harley-Davidson has demonstrated, Defendants have been profiting from the sale of

Counterfeit Harley-Davidson Products. Thus, the balance of equities tips decisively in Harley-

Davidson’s favor.    The public is currently under the false impression that Defendants are

operating their Defendant Internet Stores with Harley-Davidson’s approval and endorsement. In

this case, the injury to the public is significant, and the injunctive relief that Harley-Davidson

seeks is specifically intended to remedy that injury by dispelling the public confusion created by

Defendants’ actions. As such, equity requires that Defendants be ordered to cease their unlawful

conduct.

IV.    THE EQUITABLE RELIEF SOUGHT IS APPROPRIATE

       The Lanham Act authorizes courts to issue injunctive relief “according to the principles

of equity and upon such terms as the court may deem reasonable, to prevent the violation of any

right of the registrant of a mark….” 15 U.S.C. § 1116(a).

       A.      A Temporary Restraining Order Immediately Enjoining Defendants’
               Unauthorized and Unlawful Use of the HARLEY-DAVIDSON Trademarks
               Is Appropriate

       Harley-Davidson requests a temporary injunction requiring Defendants to immediately

cease all use of the HARLEY-DAVIDSON Trademarks, or substantially similar marks, on or in

connection with all Defendant Internet Stores. Such relief is necessary to stop the ongoing harm

to the HARLEY-DAVIDSON Trademarks and associated goodwill, as well as harm to

consumers, and to prevent the Defendants from continuing to benefit from their unauthorized use

of the HARLEY-DAVIDSON Trademarks. The need for ex parte relief is magnified in today’s

global economy where counterfeiters can operate anonymously over the Internet.            Harley-

Davidson is currently unaware of both the true identities and locations of the Defendants, as well

as other Defendant Internet Stores used to distribute Counterfeit Harley-Davidson Products.

Many courts have authorized immediate injunctive relief in similar cases involving the

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unauthorized use of trademarks and counterfeiting. See, e.g., Deckers Outdoor Corporation v.

The Partnerships, et al., No. 15-cv-3249 (N.D. Ill. Apr. 4, 2015) (unpublished) (Order granting

Ex Parte Motion for Temporary Restraining Order).

       B.      Preventing the Fraudulent Transfer of Assets Is Appropriate

       Harley-Davidson requests an ex parte restraint of Defendants’ assets so that Harley-

Davidson’s right to an equitable accounting of Defendants’ profits from sales of Counterfeit

Harley-Davidson Products is not impaired.1 Issuing an ex parte restraint will ensure Defendants’

compliance. If such a restraint is not granted in this case, Defendants may disregard their

responsibilities and fraudulently transfer financial assets to overseas accounts before a restraint is

ordered. Specifically, upon information and belief, the Defendants in this case hold most of their

assets in China, making it easy to hide or dispose of assets, which will render an accounting by

Harley-Davidson meaningless.

       Courts have the inherent authority to issue a prejudgment asset restraint when plaintiff’s

complaint seeks relief in equity. Animale Grp. Inc. v. Sunny’s Perfume Inc., 256 F. App’x 707,

709 (5th Cir. 2007). In addition, Harley-Davidson has shown a strong likelihood of succeeding

on the merits of its trademark infringement and counterfeiting claim, so according to the Lanham

Act 15 U.S.C. § 1117(a) (1), Harley-Davidson is entitled, “subject to the principles of equity, to

recover ... defendant’s profits.” Harley-Davidson’s Amended Complaint seeks, among other

relief, that Defendants account for and pay to Harley-Davidson all profits realized by Defendants

by reason of Defendants’ unlawful acts.         Therefore, this Court has the inherent equitable

authority to grant Harley-Davidson’s request for a prejudgment asset freeze to preserve relief

sought by Harley-Davidson.


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  Harley-Davidson has concurrently filed a Motion for Leave to File Under Seal certain documents for
this same reason.

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       The Northern District of Illinois in Lorillard Tobacco Co. v. Montrose Wholesale

Candies entered an asset restraining order in a trademark infringement case brought by a tobacco

company against owners of a store selling counterfeit cigarettes. Lorillard, 2005 WL 3115892 at

*13 (N.D. Ill. Nov. 8, 2005). The Court recognized that it was explicitly allowed to issue a

restraint on assets for lawsuits seeking equitable relief.      Id. (citing Grupo Mexicano, de

Desarollo, S.A. v. Aliance Bond Fund, 527 U.S. 308, 325 (1999)). Because the tobacco company

sought a disgorgement of the storeowner’s profits, an equitable remedy, the Court found that it

had the authority to freeze the storeowner’s assets. Id.

       Harley-Davidson has shown a likelihood of success on the merits, an immediate and

irreparable harm suffered as a result of Defendants’ activities, and that, unless Defendants’ assets

are frozen, Defendants will likely hide or move their ill-gotten funds to offshore bank accounts.

Accordingly, an asset restraint is proper.

       C.      Harley-Davidson Is Entitled to Expedited Discovery

       The United States Supreme Court has held that “federal courts have the power to order, at

their discretion, the discovery of facts necessary to ascertain their competency to entertain the

merits.” Vance v. Rumsfeld, No. 1:06-cv-06964, 2007 WL 4557812, *6 (N.D. Ill. Dec. 21, 2007)

(quoting Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351, 98 S.Ct. 2380 (1978)). Courts

have wide latitude in determining whether to grant a party's request for discovery. Id. (citation

omitted). Further, courts have broad power over discovery and may permit discovery in order to

aid in the identification of unknown defendants. See Fed. R. Civ. P. 26(b)(2).

       Harley-Davidson respectfully requests expedited discovery to discover bank and payment

system accounts Defendants use for their counterfeit sales operations. The expedited discovery

requested in Harley-Davidson’s Proposed TRO is limited to include only what is essential to

prevent further irreparable harm. Discovery of these financial accounts so that they can be

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frozen is necessary to ensure that these activities will be contained. See, e.g., Deckers Outdoor

Corporation v. The Partnerships, et al., No. 15-cv-3249 (N.D. Ill. April 4, 2015) (unpublished).

Harley-Davidson’s seizure and asset restraint may have little meaningful effect without the

requested relief. Accordingly, Harley-Davidson respectfully requests that expedited discovery

be granted.

V.      A BOND SHOULD SECURE THE INJUNCTIVE RELIEF

        The posting of security upon issuance of a TRO or preliminary injunction is vested in the

Court’s sound discretion. Rathmann Grp. v. Tanenbaum, 889 F.2d 787, 789 (8th Cir. 1989).

Because of the strong and unequivocal nature of Harley-Davidson’s evidence of counterfeiting,

infringement, and unfair competition, Harley-Davidson respectfully requests this Court require

Harley-Davidson to post a bond of no more than ten thousand U.S. dollars ($10,000.00). See,

e.g., Deckers Outdoor Corporation v. The Partnerships, et al., No. 15-cv-3249 (N.D. Ill. April 4,

2015) (unpublished) ($10,000 bond).

VI.     CONCLUSION

        Defendants’ counterfeiting operations are irreparably harming Harley-Davidson’s

business, its famous Harley-Davidson brand, and consumers. Without entry of the requested

relief, Defendants’ sale of Counterfeit Harley-Davidson Products will continue to lead

prospective purchasers and others to believe that Defendants’ Counterfeit Harley-Davidson

Products have been manufactured by or emanate from Harley-Davidson, when in fact, they have

not. Therefore, entry of an ex parte order is necessary. In view of the foregoing and consistent

with previous similar cases, Harley-Davidson respectfully requests that this Court enter a

Temporary Restraining Order in the form submitted herewith.




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Dated this 5th day of June 2019.      Respectfully submitted,


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